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 4
     Attorney for Defendant
 5   SUSAN CASILLAS
 6
 7                          IN THE UNITED STATES DISTRICT COURT
 8                  IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,                             )   Case No.: 2:19-CR-00002-JAM
                                                           )
11                           Plaintiff,                    )   STIPULATION AND ORDER
                                                           )   MOFIFYING PRETRIAL
12          vs.                                            )   RELEASE CONDITIONS
                                                           )
13   SUSAN CASILLAS,                                       )
                                                           )
14                           Defendant.                    )
                                                           )
15                                                         )
16          IT IS HEREBY STIPULATED by and between the parties hereto through their
17   respective counsel, Timothy Delgado, Assistant United States Attorney, attorney for plaintiff,
18   and Michael E. Hansen, attorney for defendant Susan Casillas, to modify the pretrial release
19   conditions for Ms. Casillas, adding the following:
20          1. You must refrain from any use of alcohol or any use of a narcotic drug or other
21                controlled substance without a prescription by a licensed medical practitioner; and
22                you must notify Pretrial Services immediately of any prescribed medication(s).
23                However, medicinal marijuana prescribed and/or recommended may not be used;
24                and,
25          2. You must participate in a program of medical or psychiatric treatment, including
26                treatment for drug or alcohol dependency, as approved by the pretrial services officer.
27                You must pay all or part of the costs of the counseling services based upon your
28                ability to pay, as determined by the pretrial services officer.

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     Pretrial Release Conditions Modification
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 1   Dated: February 20, 2019                              Respectfully submitted,
 2                                                         /s/ Michael E. Hansen
                                                           MICHAEL E. HANSEN
 3                                                         Attorney for Defendant
                                                           SUSAN CASILLAS
 4
 5   Dated: February 20, 2019                              McGREGOR SCOTT
                                                           United States Attorney
 6
                                                           By: /s/ Michael E. Hansen for
 7                                                         TIMOTHY DELGADO
                                                           Assistant U.S. Attorney
 8                                                         Attorney for Plaintiff
 9                                                ORDER
10                  The Court, having received, read, and considered the stipulation of the parties,
11   and good cause appearing therefrom, adopts the stipulation of the parties in its entirety as its
12   order. Based on the stipulation of the parties and the recitation of facts contained therein, the
13   Court orders modification and addition of pretrial release conditions as follows:
14          Condition 15. You must refrain from any use of alcohol or any use of a narcotic drug or
15   other controlled substance without a prescription by a licensed medical practitioner; and you
16   must notify Pretrial Services immediately of any prescribed medication(s). However, medicinal
17   marijuana prescribed and/or recommended may not be used.
18          Condition 16. You must participate in a program of medical or psychiatric treatment,
19   including treatment for drug or alcohol dependency, as approved by the pretrial services officer.
20   You must pay all or part of the costs of the counseling services based upon your ability to pay,
21   as determined by the pretrial services officer.
22          IT IS SO ORDERED.
23
24   Dated: February 22, 2019
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     Pretrial Release Conditions Modification
